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                 UNITED STATES BANKRUPTCY COURT
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION
IN RE:

UNITED STATES                                   CASE NO.: 20-40375-KKS
CORPORATION COMPANY,
                                                INVOLUNTARY
                                                CHAPTER: 11
       Alleged Debtor.
                                  /

         ORDER ENJOINING PETITIONING PARTY, SYTERIA
      HEPHZIBAH, A/K/A HIGHLY FAVORED SHEKINAH EL, PUR-
       SUANT TO ORDER FOR PETITIONING PARTY, SYTERIA
      HEPHZIBAH, TO SHOW CAUSE WHY SHE SHOULD NOT BE
          DECLARED A VEXATIOUS LITIGANT (DOC. 38)

       THIS MATTER came before the Court for hearing on December 17,

2020, on the Order for Petitioning Party, Syteria Hephzibah, to Show

Cause Why She Should Not Be Declared a Vexatious Litigant (“Order to

Show Cause,” Doc. 38). Petitioning Party, Syteria Hephzibah, a/k/a

Highly Favored Shekinah-El (“Hephzibah a/k/a Shekinah-El”), ap-

peared. 1

       Having considered the record and testimony at the hearing, the

Court finds that Hephzibah a/k/a Shekinah-El failed to show any cause


1Syteria Hephzibah designates herself as “Highly Favored Shekinah El, dba Moorish Science
Temple of America, dba Court of Equity and Truth, Lawful Beneficiary Creditor, Heir of the
Vast Estate . . . .” The hearing was conducted telephonically due to the continuing COVID-
19 pandemic.


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why this Court should not declare her a vexatious litigant.

                                    BACKGROUND

       Hephzibah a/k/a Shekinah-El has commenced two (2) bankruptcy

cases and three (3) adversary proceedings in this Court, including the

instant case. She has also filed numerous cases in state and other federal

courts.2 She has sued or attempted to sue federal, state, and local agen-

cies, their employees, attorneys, judges, and other private persons and

entities.3 This Court and others have determined that cases and claims

filed by Hephzibah a/k/a Shekinah-El, other than the Chapter 7 bank-

ruptcy petition filed in this Court in 2018,4 were, among other things,

frivolous, baseless, and vexatious.5


2 A brief summary of Hephzibah’s filing history in this Court and others can be found in the
Order to Show Cause Doc. 38 and Gullet-El v. Corrigan, No. 3:17-cv-881-J-32JBT, 2017 WL
10861313 (M.D. Fla. Sept. 20, 2017).
3 Docs. 1-7 & 1-8; Doc. 38, p. 5 n.14; Gullet-El, 2017 WL 10861313, at *1–4.
4 Chapter 7 Voluntary Petition, In re Hephzibah, No. 18-40381-KKS (Bankr. N.D. Fla. July

18, 2018), Doc. 1.
5 Gullett-El, 2017 WL 10861313, at *1–4 (dismissing complaint with prejudice as frivolous

and vexatious and noting other courts that have determined cases filed by Hephzibah a/k/a
Shekinah-El to be frivolous, baseless, and vexatious); Doc. 38, pp. 3–8 (citing this Court’s
previous warnings to Hephzibah a/k/a Shekinah-El from her Chapter 7 bankruptcy case and
adversary proceedings); Order Granting Alleged Debtor’s Emergency Motion for Order Dis-
missing Involuntary Petition (Doc. 28), Doc. 45 (dismissing the Involuntary Petition with
prejudice); Order Enjoining Petitioning Parties Pursuant to Order to Show Cause (1) Why
Chapter 11 Involuntary Petition Should Not Be Dismissed; (2) Why Petitioning Parties
Should Not Have to Post a Bond; and (3) Whether Petitioning Parties Should be Sanctioned
Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. § 105 (Doc. 34), Doc. 49 (finding that the
Involuntary Petition was meritless and was filed for an improper purpose); see also Gullett
v. Duff, No. 19-2015, 2019 WL 3349962, *1 (D.D.C. July 24, 2019) (“Plaintiff [Gullett] and his
mother [Hephzibah a/k/a Shekinah-El] are ‘no strangers’ to the United States District Court
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       In an effort to curtail her pattern of abuse, in 2017 the District

Court for the Middle District of Florida entered an injunction against

Hephzibah a/k/a Shekinah-El, enjoining her from filing suit in that court

and the Circuit Court for Duval County, Florida, without prior approval

from the District Court. 6 After that injunction issued, Hephzibah a/k/a

Shekinah-El came to this Court to continue her vexatious litigation.

       The Order to Show Cause issued by this Court provides:

       Currently before the Court is Hephzibah’s most recent filing—
       a Chapter 11 Involuntary Petition (“Involuntary Petition”)
       against “United States Corporation Company” (“Alleged
       Debtor.”) For the reasons that follow, and others that may be-
       come evident, the Court enters this Order to Show Cause to
       determine whether Hephzibah should be declared a vexatious
       litigant for (1) attempting to relitigate meritless and frivolous
       claims, (2) harassing Alleged Debtor, governmental agencies
       of the United States, and others, and (3) continuing to abuse
       the bankruptcy system.7

The Order to Show Cause also recited that two orders entered in the

Chapter 7 case filed by Hephzibah a/k/a Shekinah-El warned:

       [I]f [Hephzibah] continues filing papers with this Court in fur-
       ther attempts to obtain release from incarceration, she risks
       being declared a “vexatious litigant” and being assessed


for the Middle District of Florida, where ‘each’ has a history of filing ‘patently frivolous and
vexatious’ complaints.”) (citing Gullett-El, 2017 WL 10861313, at *1).
6 Gullett-El, 2017 WL 10861313, at *5. This injunction was also against Petitioning Party,

Taquan Rashe Gullett-El, a/k/a Maalik Rahshe El (“Gullet”). Id. at *1.
7 Doc. 38, pp. 1–2 (footnote omitted).

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       sanctions under Fed. R. Bankr. P. 9011.8

       [Hephzibah] is again forewarned that if she continues filing
       papers in further attempt to obtain release from incarceration
       with this Court, she risks being declared a “vexatious litigant”
       and being assessed sanctions under Fed. R. Bankr. P. 9011.9

The Order to Show Cause reiterates that in the orders dismissing the

three (3) adversary proceedings Hepzibah a/k/a Shekinah-El filed in

2018, this Court cautioned her that she could be deemed a vexatious lit-

igant:

       [Hephzibah] is forewarned that if she continues filing adver-
       sary proceedings with this Court and then fails to properly
       prosecute them, she risks being declared a “vexatious litigant”
       and being assessed sanctions under Fed. R. Bankr. P. 9011.10

       At the hearing on the Order to Show Cause, Hephzibah a/k/a She-

kinah-El testified at length, describing in considerable detail her recol-

lection of events, arrest(s), incarceration, and other incidents, some da-

ting as far back as 2010. She described actions by various government

authorities as “international war crimes” against her and her son, Gul-

lett. Hephzibah a/k/a Shekinah-El further testified that she and her son



8Id. at p. 4 (quoting Order Denying Debtor’s Petition for Writ of Habeas Corpus and Other
Relief (Doc. 45) at 6, In re Hephzibah, No. 18-40381-KKS (Bankr. N.D. Fla. Feb. 12, 2019),
Doc. 50).
9 Id. at pp. 4–5 (quoting Order Denying Motion for Contempt (Doc. 46) at 2, In re Hephzibah,

No. 18-40381-KKS (Bankr. N.D. Fla. Feb. 13, 2019), Doc. 51).
10 Id. at pp. 5–6.

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have unsuccessfully tried for years to obtain relief through the judicial

system for these alleged crimes against them.

      Apparently as a result of researching records of the Florida Depart-

ment of State Division of Corporations, Hephzibah a/k/a Shekinah-El de-

termined that Alleged Debtor, United States Corporation Company, a

private entity based in Delaware, was the United States Government.

According to her, filing the Involuntary Petition was another effort to

“execute the process my son and I began to address international war

crimes” and get relief from “heartache and pain” she and her son have

allegedly been enduring at the hands of various federal and state officials

for over six (6) years.

                               DISCUSSION

      The Involuntary Petition has nothing to do with bankruptcy. None

of the testimony at the Show Cause hearing reflects a scintilla of legal or

factual support for filing an involuntary Chapter 11 petition against a

private corporation unconnected with Hephzibah a/k/a Shekinah-El or

the United States Government.

      A bankruptcy court may use its inherent authority to sanction




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parties for conduct that abuses the judicial process.11 “This power is de-

rived from the court’s need to manage [its] own affairs so as to achieve

the orderly and expeditious disposition of cases.” 12 “To impose sanctions

under the court’s inherent power, the court must find bad faith.”13 Within

the Eleventh Circuit, a finding of bad faith may be warranted when a

party: (1) “knowingly or recklessly raises a frivolous argument, or argues

a meritorious claim for the purpose of harassing an opponent;” 14 (2) pur-

sues a claim without “reasonable inquiry into the underlying facts;”15 or

(3) “continually advance[es] groundless and patently frivolous” claims. 16

       In addition to its inherent authority, a bankruptcy court “may

[also] invoke its statutory power of [§] 105(a) to redress Rule 9011 viola-

tions, bad faith, and unreasonable, vexatious litigation.” 17 Under 11




11Law v. Siegel, 571 U.S. 415, 421 (2014) (citation omitted); Glatter v. Mroz (In re Mroz), 65
F.3d 1567, 1574–75 (11th Cir. 1995) (citing Chambers v. NASCO, Inc., 501 U.S. 32, 43 (1991));
In re Dekom, No. 19-300082-KKS, 2020 WL 4004116, at *4 (Bankr. N.D. Fla. Apr. 6, 2020);
In re Pina, 602 B.R. 72, 98 (Bankr. S.D. Fla. 2019); In re Walker, 414 B.R. 787, 791 (Bankr.
M.D. Fla. 2009).
12 Ginsberg v. Evergreen Sec., Ltd. (In re Evergreen Sec., Ltd.), 570 F.3d 1257, 1263 (11th
Cir. 2009) (quoting Bank of N.Y. v. Sunshine-Jr. Stores, Inc. (In re Sunshine Jr. Stores, Inc.),
456 F.3d 1291,1304 (11th Cir. 2006)).
13 Id. at 1273 (citing In re Walker, 532 F.3d 1304, 1309 (11th Cir. 2008)).
14 Id. (quoting Walker, 532 F.3d at 1309).
15 Id. at 1274 (quoting Barnes v. Dalton, 158 F.3d 1212, 1214 (11th Cir. 1998)).
16 Id. (quoting Glass v. Pfeffer, 849 F.2d 1261, 1265 (10th Cir. 1988))
17 In re Zalloum, No. 6:17-bk-02329-KSJ, 2019 WL 965098, at *9 (Bankr. M.D. Fla. Feb. 25,

2019) (citation omitted); see also Jove Eng’g, Inc. v. IRS, 92 F.3d 1539, 1543 (11th Cir. 1996)
(distinguishing between a court’s statutory power under § 105(a) and inherent power).
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U.S.C. § 105, a court may issue any order or take any action “necessary

or appropriate to enforce or implement court orders or rules, or to pre-

vent an abuse of the process.”18

               The Involuntary Petition was filed in bad faith.

       The documented entitled “Universal and International Humanitar-

ian Declaration for Common Law Prejudgment Writ of Personal Re-

plevin” attached to the Involuntary Petition is the very document that

formed the foundation of the suit dismissed with prejudice by the District

Court for the Middle District of Florida in 2017 as vexatious and patently

frivolous.19 Hephzibah a/k/a Shekinah-El knowingly filed the Involun-

tary Petition based on that document for the improper purpose of har-

assing the same federal and state officials whom she and Gullett have

previously named as defendants.

       Allowing such patently frivolous claims to continue would harm the

integrity of the judicial system.




18 11 U.S.C. § 105(a) (2020); cf. Marrama v. Citizens of Bank of Mass., 549 U.S. 365, 375–76
(2007) (stating that even if § 105(a) had not been enacted, the bankruptcy court’s inherent
authority permits sanctions for “abusive litigation practice”).
19 Doc. 1-7; Doc. 38, pp. 2–3; Gullett-El, 2017 WL 10861313, at *1, *4.

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       The Court may properly enjoin Hephzibah a/k/a Shekinah-El
                        as a vexatious litigant.

       Hephzibah a/k/a Shekinah-El has a history of filing duplicative,

vexatious, and frivolous lawsuits, including the Involuntary Petition

commencing this case. The Court has the responsibility and authority to

prevent vexatious litigants, such as Hephzibah a/k/a Shekinah-El, “from

unnecessarily encroaching on the judicial machinery as needed by oth-

ers.”20 Because Hephzibah a/k/a Shekinah-El has demonstrated an in-

tent to continue her abusive litigation history, sanctions, including lim-

iting future access to the judicial system, are warranted. 21

       The Eleventh Circuit has long recognized a court’s inherent ability

to issue injunctions against abusive and vexatious litigants.22 “Such in-

junctions may be appropriate to protect both the court and its staff, as

well as the right of all litigants in the federal system.”23 Courts may en-

join not only the abusive litigant, but any party working in concert or at


20Procup v. Strickland, 792 F.2d 1069, 1074 (11th Cir. 1986) (en banc) (per curiam); accord
Law, 571 U.S. at 420–21 (stating that a bankruptcy court has the inherent and statutory
power of § 105(a) to sanction abusive litigation tactics).
21 See Silva v. Swift, No. 4:19-cv-286-RH/MJF, 2020 WL 5523400, at *7–8 (N.D. Fla. June 1,

2020), adopted by No. 4:19-cv-286-RH/MJF, 2020 WL 3287884 (N.D. Fla. June 18, 2020); see
also Safir v. U.S. Lines, Inc., 792 F.2d 19, 25 (“Ultimately, the question the court must answer
is whether a litigant who has a history of vexatious litigation is likely to continue to abuse
the judicial process and harass other parties.”).
22 See Procup, 792 F.2d at 1071–74.
23 Barash v. Kates, 586 F. Supp. 2d 1323, 1325 (S.D. Fla. 2008) (citing Procup, 792 F.2d at

1071–72).
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the behest of the litigant. 24 “The only restriction this Circuit has placed

upon injunctions designed to protect against abusive and vexatious liti-

gation is that a litigant cannot be ‘completely foreclosed from any access

to the court.’”25 The Eleventh Circuit has upheld injunctions, commonly

referred to as “Martin-Trigona Injunctions,” that impose prefiling screen-

ing procedures on vexatious litigants.                    26   Having determined that

Hephzibah a/k/a Shekinah-El filed the Involuntary Petition in bad faith

and is a vexatious litigant, the Court may properly issue a Martin-Trig-

ona Injunction to prevent further abuse of the judicial system.27


24 Id. at 1326 (citing Martin-Trigona v. Shaw, 986 F.2d 1384, 1387–89 (11th Cir. 1993) (per
curiam)).
25 Martin-Trigona, 986 F.2d at 1387 (quoting Procup, 792 F.2d at 1074 (emphasis in original)).
26 Law Watkins v. Dubreuil, 820 Fed App’x 940 (11th Cir. 2020) (upholding injunction pro-

hibiting litigant from filing new lawsuit without prior court approval); Martin-Trigona, 986
F.2d at 1387 (upholding an injunction that prohibited litigant “from filing or attempting to
initiate any new lawsuit in any federal court in the United States . . . without first obtaining
leave of that federal court.”); Copeland v. Green, 949 F.2d 390 (11th Cir. 1991) (upholding
the prefiling requirement that the clerk must submit the litigant’s papers to the judge for
approval); Cofield v. Ala. Public Serv. Com’n, 936 F.2d 512, 518 (11th Cir. 1991) (upholding
injunction requiring the plaintiff “to send all pleadings to a judge for prefiling approval”).
27 See Carroll v. Abide (In re Carroll), 850 F.3d 811 (5th Cir. 2017) (affirming a bankruptcy

court’s decision to issue a pre-filing injunction pursuant to its inherent authority and statu-
tory powers under 28 U.S.C. § 1651(a) and 11 U.S.C. § 105(a)); In re Diaz, No. 8:14-bk-01237-
CPM, 2014 WL 12936894, at *2–3 (Bankr. M.D. Fla. July 25, 2015) (issuing a Martin-Trigona
Injunction pursuant to § 105(a) and other applicable statutes); In re Smith, No. 07-20244,
2012 WL 4758038 (Bankr. S.D. Ga. Sept. 17, 2012) (imposing pre-filing screening on the
debtor continually filing groundless and frivolous litigation pursuant to 11 U.S.C. § 105(a)
and the courts inherent powers); In re Kozich, 406 B.R. 949, 956 (Bankr. S.D. Fla. 2009) (“[I]n
light of the broad authority I have under § 105 ‘to prevent an abuse of process,’ as well as
under my inherent power to control litigation conducted in bad faith, I find that the appro-
priate remedy is to prohibit [the debtor] from filing any adversary proceeding or contested
matter in the United States Bankruptcy Court for the Southern District of Florida on a pro
se basis without prior court approval”); In re Mayhew, No. 90-60141, 1994 WL 16006013, at
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           Hephzibah a/k/a Shekinah-El was afforded due process
                 that her conduct may warrant sanctions.

       A court must afford the party to be sanctioned due process in deter-

mining whether to issue sanctions.28 Due process requires the party to

have fair notice that her conduct may warrant sanctions, the reasons

why, and an opportunity to respond. 29

       The Order to Show Cause provided Hephzibah a/k/a Shekinah-El

with notice that the Court was considering invoking its authority to issue

sanctions: “A Bankruptcy Court may [also] invoke its statutory power of

[§] 105(a) to redress Rule 9011 violations, bad faith, and unreasonable,

vexatious litigation.” 30 The Court also put Hephzibah a/k/a Shekinah-El

on notice of the sanctions it was contemplating and the specific conduct

it considered sanctionable and vexatious:

       [T]he Court enters this Order to Show Cause to determine
       whether Hephzibah should be declared a vexatious litigant
       for (1) attempting to relitigate meritless and frivolous
       claims, (2) harassing Alleged Debtor, governmental agen-
       cies of the United States, and others, and (3) continuing to
       abuse the bankruptcy system.


*4 (Bankr. S.D. Ga. July 25, 1994) (imposing a pre-filing screening restriction on the debtor
pursuant the 28 U.S.C. § 1651(a) and 11 U.S.C. § 105(a)).
28 In re Mroz, 65 F.3d at 1575 (citing Chambers, 501 U.S. at 49); see also In re Evergreen,

570 F.3d at 1273 (“Sanctions were also imposed under the bankruptcy court’s inherent power
which is similarly not affected by the safe harbor provision in Rule 9011.”).
29 In re Mroz, 65 F.3d at 1575 (citations omitted).
30 Doc. 38, p. 10 (citations omitted).

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               The sanction this Court is considering, in addition to
         others that may result by virtue of prior orders entered in
         this case, includes permanently enjoining Hephzibah from
         initiating any matter or filing any papers in this Court (a)
         without prior approval from this Court or (b) unless she is
         represented by counsel admitted to practice in this
         Court. . . .

         By filing the Involuntary Petition and other papers in this
         case with no apparent legal or factual basis, Hephzibah ap-
         pears to have violated Rule 9011(b); she has clearly disre-
         garded this Court’s prior warnings against such conduct. If
         Hephzibah has any legal basis, facts, or evidence to show
         that this Involuntary Petition is not a repeat of her frivolous
         and vexatious filing history, she will have an opportunity to
         make her case at the hearing on this Order to Show
         Cause.31

                                      CONCLUSION

         As this Court again explained at the Order to Show Cause hearing,

bankruptcy courts are not an appropriate forum for criminal matters, is-

sues pertaining to alleged “international war crimes,” or the other griev-

ances for which Hephzibah a/k/a Shekinah-El seeks redress. The Invol-

untary Petition has nothing to do with bankruptcy whatsoever. The In-

voluntary Petition that commenced this case was filed in bad faith and

for the sole purpose to harass; it was filed knowingly based on the same

31   Id. at pp. 1–2, 13 (footnote omitted). Although the Order to Show Cause stated that sanc-
tions may be issued pursuant to Rule 9011, the Court may still properly invoke its inherent
authority because Hephzibah a/k/a Shekinah-El had notice of the specific conduct the Court
considered sanctionable and vexatious. See Fellheimer, Eichen & Braverman, P.C. v. Charter
Techs., Inc., 57 F.3d 1215 (10th Cir. 1995).
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“complaint” that had been dismissed with prejudice by another court. The

record amply demonstrates that nothing short of an injunction will deter

Hephzibah a/k/a Shekinah-El and those working with or through her

from continuing to pursue additional frivolous and vexatious filings.32

For that reason, it is appropriate to designate Hephzibah a/k/a Shekinah-

El a vexatious litigant and impose sanctions.33

         For the reasons stated, it is

         ORDERED:

      1. Pursuant to the Court’s inherent authority and 11 U.S.C. § 105(a),

         Petitioning Party, Syteria Hephzibah, a/k/a Highly Favored Sheki-

         nah-El, and any anyone acting in concert with or at her behest, is

         permanently ENJOINED from initiating any matter or filing any

         papers in this Court without prior approval from this Court.

      2. The following prescreening procedures shall apply:

         a. The Clerk’s Office will not file any paper(s) or other document(s)

             tendered by Syteria Hephzibah, a/k/a Highly Favored Shekinah-

             El, and/or any anyone acting in concert or at her behest. Rather,



32   See Silva, 2020 WL 5523400, at *12.
33   See Gullet-El v. Corrigan, No. 3:17-cv-881-J-32JBT, 2017 WL 10861313 (M.D. Fla. Sept.
20, 2017).
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     any such papers will be date-stamped and delivered to Cham-

     bers to be reviewed and screened by the Bankruptcy Judge for

     the Northern District of Florida to determine whether the pa-

     pers have arguable merit. No meritless, abusive, frivolous, scan-

     dalous, or otherwise impertinent filing shall be permitted. If the

     paper is arguably meritorious, the Court shall issue an order so

     stating and shall direct the Clerk of Court to file it accordingly.

  b. In the event the Bankruptcy Judge's preliminary review deter-

     mines that the proposed filing is frivolous, the papers tendered

     will not be filed with the Court. Instead, after making appropri-

     ate copies the Clerk will return the papers tendered to

     Hephzibah a/k/a Shekinah-El, or the original sender. Upon such

     a determination, Hephzibah a/k/a Shekinah-El will be subject to

     additional sanctions, including monetary assessment.

3. In addition to docketing this Order in the instant case, the Clerk

  shall open a miscellaneous case and shall file this Order in that

  case. Any order determining that a paper tendered by Hephzibah

  a/k/a Shekinah-El, and/or any anyone acting in concert or at her

  behest, has no arguable merit shall be filed in the miscellaneous

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     case, along with a copy of the paper in question; the Clerk shall

     then provide copies of both to the Office of the United States Trus-

     tee.

  4. In the event that Hephzibah a/k/a Shekinah-El should appeal this

     Order, and in the further event that the District Court should hold

     that this Court does not have authority to issue this type of sanc-

     tion, then this Order shall be construed as a Report and Recom-

     mendation (R&R) to the District Court.

  5. In the event of any conflict between this Order and the Order en-

     tered in this case at Doc. 49., the terms of the instant Order shall

     control.

  6. The Clerk’s Office is directed to immediately re-close this case.



     DONE and ORDERED on January 22, 2021                         .



                                                 KAREN K. SPECIE
                                                 Chief U. S. Bankruptcy Judge
cc: all parties in interest, including
Syteria Hephzibah
Highly Favored Shekinah-El
422 East 27th Street
Jacksonville, FL 32206-2211
dba Moorish Science Temple of America
dba Court of Equity and Truth
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